      Case 3:20-cv-00448-VAB Document 25-1 Filed 07/21/20 Page 1 of 5




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

DEBORAH LAUFER,
         Plaintiff,

v.                                                       Case No: 3:20-cv00448-VAB


441 POST ROAD, LLC,
           Defendant.

          STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


     1.    My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

           am unable to engage in the major life activity of walking more than a few steps

           without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

           a cane or other support and have limited use of my hands. I am unable to tightly

           grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

           ambulating beyond the comfort of my own home, I must primarily rely on a

           wheelchair. I require accessible handicap parking spaces located closet to the

           entrances of a facility. The handicap and access aisles must be of sufficient width

           so that I can embark and disembark into a vehicle. Routes connecting the

           handicap spaces and all features, goods and services of a facility must be level,

           properly sloped, sufficiently wide and without cracks, holes or other hazards that

           can pose a danger of tipping, catching wheels or falling. These areas must be free

           of obstructions or unsecured carpeting that make passage either more difficult or

           impossible. Amenities must be sufficiently lowered so that I can reach them. I



                                             1
 Case 3:20-cv-00448-VAB Document 25-1 Filed 07/21/20 Page 2 of 5




      have difficulty operating door knobs, sink faucets, or other operating mechanisms

      that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

      have unwrapped pipes, as such pose a danger of scraping or burning my legs.

      Sinks must be at the proper height so that I can put my legs underneath to wash

      my hands. I require grab bars both behind and beside a commode so that I can

      safely transfer and I have difficulty reaching the flush control if it is on the wrong

      side. I have difficulty getting through doorways if they lack the proper clearance.

      To use a pool, I require a lift or other accessible means. When sleeping in a guest

      room, I need a compliant tub or shower with required grab bars and a shower seat.

2.    When looking at a hotel online reservation system, I need information so that I

      can ascertain whether or not the hotel and its guest rooms are accessible to me.

      This includes information whether the conditions referenced above are compliant.

3.    In the past, I have observed that the vast majority of hotel online reservations

      systems do not allow for booking of accessible rooms or provide the information I

      need to make an informed choice. I have also booked a room at hotels whose

      websites claim they are “accessible”, only to find that this claim is untrue.

      Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

      an accessible hotel. The failure of so many hotels to comply with the law in this

      regard deter me from making travel plans. Therefore, I am an advocate on behalf

      of both myself and other similarly situated disabled persons and consider myself a

      tester. As a tester, I visit hotel online reservations systems to ascertain whether

      they are in compliance with the Americans With Disabilities Act. In the event that


                                         2
 Case 3:20-cv-00448-VAB Document 25-1 Filed 07/21/20 Page 3 of 5




      they are not, I request that a law suit be filed to bring the website into compliance

      with the ADA so that I and other disabled persons can use it. If a law suit is filed

      to bring the website into compliance, I frequently revisit the website to ascertain

      whether or not it has been made accessible with the information required by law.

      With respect to each law suit I file, I subsequently revisit each website because

      that is my system.

5.    I used to live in New York, have family there, and return constantly. I frequently

      stay in a a hotel when I go up. I have also traveled and continue to travel

      throughout the region as well as the Northeast United States and have traveled

      through and stayed in hotels in Connecticut numerous times. As soon as the Covid

      related restrictions are eased and it becomes safe to travel, I intend to visit New

      York and visit my family and friends. I will be staying in area hotels when I visit. I

      will also be traveling all throughout the entire State of New York. I will also be

      traveling all throughout the entire State of Connecticut to sight see. I will be

      staying in hotels around the entire State of Connecticut when I visit. Because the

      Defendant’s hotel and so many other hotel websites fail to allow for booking of

      accessible rooms and fail to provide sufficient information about whether or not

      the hotels’ features are accessible, it makes it extremely difficult for me to make

      any meaningful choice because I am deprived of the information I need to make

      my plans.

6.    Rooms for the Circle Hotel, 417 Post Rd., Fairfield CT, through various online

      reservations websites, including circlehotelfairfield.com, windsurfercrs.com,


                                        3
 Case 3:20-cv-00448-VAB Document 25-1 Filed 07/21/20 Page 4 of 5




      expedia, hotels.com, booking.com, orbitz, priceline and agoda. Prior to filing this

      lawsuit, on March 18, 19, 20, 21 and 30, 2020, I visited the online reservation

      system for the Defendant’s hotel for the purpose of reviewing and assessing the

      accessible features at the hotel and ascertain whether the websites contain the

      information required by 28 C.F.R. Section 36.302(e) and adequately informs me

      as to whether the hotel meets my accessibility needs. I was in my own home in

      Pasco County when I visited these websites. However, I was unable to do so

      because Defendant failed to comply with the requirements set forth in 28 C.F.R.

      Section 36.302(e). As a result, I was deprived the same services available to the

      general public. The websites do not identify any accessible rooms, provide for

      booking of accessible rooms or contain any information as to whether any rooms

      or features at the hotel are accessible. In my experience, I have found that third

      party websites are sometimes compliant by identifying and allowing for booking

      of accessible rooms and providing ample information about accessibility. I can

      therefore only conclude that, when a third party reservations system is not

      compliant, it is because the hotel did not provide the required information.

7.    When I encountered the above conditions, I suffered humiliation and frustration at

      being treated like a second class citizen, being denied equal access and benefits to

      the goods, facilities, accommodations and services. I am deterred from returning

      to the websites because I understand that it would be a futile gesture to do so

      unless I am willing to suffer further discrimination. I am aware that defendant

      segregates against me and other disabled persons by offering them one service: me


                                        4
         Case 3:20-cv-00448-VAB Document 25-1 Filed 07/21/20 Page 5 of 5




               a lesser service.. I am aware that I am being deprived the equality of opportunity

               afforded to non-disabled persons to utilize the online reservation system free of

               discrimination. I am also aware that my ability to travel free of discrimination and

               with equal access to information offered to the general public is diminished.

       8.      Despite the above, I plan to again review the websites in the near future. I have a

               system whereby I always revisit the websites of every hotel I sued. In this regard,

               I maintain a list of each hotel I have sued. I constantly go through this list and add

               to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

               reservations system. Once a case is settled, I mark the date on my list when the

               defendant has agreed to fix its websites. When that date arrives, I revisit it again

               and record my visits. Thus, I revisit each hotel’s online reservations system at

               least two times after a lawsuit is filed. Pursuant to this system, I have already

               revisited the online reservations system for this hotel on May 15 and June 5.

Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

       7.21.20
Date: _________                                __________________________________
                                                       DEBORAH LAUFER




                                                                            5
